         Case 1:14-cr-00591-JKB Document 174 Filed 12/20/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,                        Case No. 14-CR-00591

                       Plaintiff,

        vs.

 ANGELA BLYTHE,

                       Defendant.


                  ORDER SEALING GOVERNMENT EXHIBITS 1 AND 2

       Pending before the Court is the Government’s Response to Petitioner’s Motion for

Accounting, it’s Motion to Seal Exhibits 1 and 2 to that Response, and this Order.

       Good cause having been shown, it is this _____ day of December, 2022, it is hereby

ORDERED that Exhibits 1 and 2 to the Government’s Response to Petitioner’s Motion for

Accounting are SEALED.



                                                    ___________________________
                                                    Honorable James K. Bredar
                                                    United States District Judge
